Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Pagel of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

 

In re Sklar Exploration Company, LLC ) Case No. 20-12377-EEB
Debtor, ) Chapter 11
)
)
In re Sklarco, LLC. ) Case No. 20-12380-EEB
Debtor. ) Chapter 11

LIQUID GOLD WELL SERVICES, INC.’S NOTICE OF PERFECTION OF LIEN
PURSAUNT TO 11 U.S.C. § 546(b)(2)

Liquid Gold Well Service, Inc. (the “Creditor’”) hereby gives notice of perfection of lien pursuant
to 11 U.S.C. § 546(b)(2) as follows (the “Notice”):

1. The Creditor is an oilfield service company that provides contract drilling services.

2. Between March 9, 2020 and March 27, 2020, at the special insistence and request of Sklar
Exploration Company, LLC (the “Debtor’’), the Creditor provided certain services to the Debtor
and the owners of the following real property and lands in Phillips County, Montana in addition
to the following described well:

Township 32 North, Range 33 East, MPM

Section 05: NE1/4 NE1/4

Well: Corwin 5 #1 (API NO. 2507123339)
(the “Property’’).

3. The Debtor and other owners of the Property have failed and refused to pay the Creditor for the
balance owing for goods and services provided.

4. On June 4, 2020, the Creditor timely filed with the County Clerk of Phillips County, Montana a
valid Notice of Oil and Gas Lien under Instrument No. 356189, Bk. 88-DOC Pg 703-722
confirming that Creditor is a secured creditor to the extent of said lien against the Property (the
“Lien”). A true and correct copy of the Lien is attached hereto as Exhibit | and is incorporated
herein by this reference.

5. Pursuant to the Lien against the Property, Creditor hereby claims a perfected, secured claim
against the Debtor in the amount of $93,582.50 plus interest at the statutory rate of 10% per
annum pursuant to M.C.A. § 31-1-106.

6. The Lien filed by the Creditor is properly perfected pursuant to Title 71 of the Montana Code
and all other applicable laws, including, but not limited to, M.C.A. § 71-3-1002 and M.C.A. §
71-3-1004 (the “Perfected Lien’’).

7. The Creditor hereby provides notice of the Perfected Lien against the Property in accordance
with 11 U.S.C. § 546(b)(2) to the Debtor, to the Office of the United States Trustee, and to other
parties in interest via ECF case filing system.
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Page2 of 24

8. The Creditor reserves all rights with respect to the scope of the Perfected Lien and its interests in
(i) the whole of the leaseholds on the Property as identified in the Perfected Lien, (ii) the
appurtenances on the Property, (iii) all materials owned by the owners of the leaseholds and used
in digging, drilling, torpedoing, completing, operating, or repairing of the oil or gas wells or oil
or gas pipelines on the Property, (iv) all oil or gas wells located on the leaseholds on the
Property, (v) all oil or gas produced from the leaseholds on the Property, (vi) all other property
or property interests identified in the Lien, and (vii) any other property or property interests
subject to the Lien as provided in Title 71 of the Montana Code or other applicable law.

9. The Creditor further provides notice that it objects and does not consent to (i) any effort to prime
the Perfected Lien against the Property and all other property or property interests identified in
the Lien, or (ii) the use of any cash collateral subject to the Perfected Lien.

10. The Creditor reserves the right to request relief from the automatic stay of 11 U.S.C. § 362, or
any other appropriate relief, to enforce and defend the Perfected Lien against the Property or any
other property or property interests of the Debtor.

11. The Notice shall not be deemed an admission that any filing is necessary to perfect or maintain

perfection of the Lien under the Bankruptcy Code, the Montana Code, or any other applicable
law.

12. The Creditor reserves the right to supplement or amend the Notice, including, but not limited to,
the amounts owed and to itemize any attorneys’ fees, costs, interest, or other amounts
recoverable under applicable law.

13. The Creditor reserves the right to request allowance and payment of administrative expense
claims under 11 U.S.C. § 503.

14. Liquid Gold files the Notice without limitation or waiver of all rights, claims, and defenses
against the Debtor, its bankruptcy estate, and any third parties.

Dated: September 998.0
Respectfully Submitted,

   

FELDMANN N AFIO PLLC

 

Denver, Colorado 80202

Office: (303) 813-1200

Direct: (303) 615-2724

Cellular: (303) 525-8877

Facsimile (303) 813-1201

Email: ccrowley@fncemlaw.com

ATTORNEY OF RECORD FOR CREDITOR
LIQUID GOLD WELL SERVICE, INC.
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Page3 of 24

CERTIFICATE OF SERVICE OF LIQUID GOLD WELL SERVICES, INC.’S NOTICE OF
PERFECTION OF LIEN PURSAUNT TO 11 U.S.C. § 546(b)(2)

The undersigned certifies that on this 2 9 day of September, 2020, I served the above and
foregoing Liquid Gold Well Services, Inc.’s Notice of Perfection of Lien Pursuant to 11 U.S.C. §
546(b)(2) as follows:

Lee M. Kutner, Esq.

KUTNER BRINEN, P.C.

1660 Lincoln St., Ste. 1850

Denver, Colorado 80264

ATTORNEY OF RECORD FOR DEBTOR
SKLAR EXPLORATION COMPANY, LLC
(via ECF case filing system only)

Keri L. Riley, Esq.

KUTNER BRINEN, P.C.

1660 Lincoln St., Ste. 1850

Denver, Colorado 80264

ATTORNEY OF RECORD FOR DEBTOR
SKLAR EXPLORATION COMPANY, LLC
(via ECF case filing system only)

Office of the United States Trustee
Byron G. Rogers Federal Building
1961 Stout St., Ste. 12-200
Denver, Colorado 80294
UNITED STATES TRUSTEE
(via ECF case filing system only)

3,
‘

 

 

 

LIQUID GOLD WELL SERVICE, INC.
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Paged4 of 24

Exhibit 1
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Page5 of 24
Sow BK 8g K% 703

0
Return to: 356189
Lee Law Office PC
P.O. Box 790

Shelby, MT 59474
356189 Fee: $140.00 20 Pgs Bk 88-DOC Pg 703-722

PHILLIPS COUNTY, MT Recorded 6/4/2020 At 3: 25 PM
Lynnel LaBrie, Clk & Redr By Nv

Return to: LEE’ LAW OFFICE PC

PO BOX 790

158 MAIN STREET
SHELBY MT 59474

NOTICE OF OIL AND GAS LIEN

LIQUID GOLD WELL SERVICE, INC., a Montana corporation, P.O. Box 757, Cut
Bank, Montana 59427 (“Liquid Gold”), pursuant to Title 71, Chapter 3, Part 10, Montana Code
Annotated, hereby gives notice that it claims a lien (the “Lien’”) against the right, title and
interest of SKLAR EXPLORATION COMPANY LLC, a Louisiana limited liability
partnership, 401 Edwards Street, Suite 1601, Shreveport, Louisiana 71101 (“Sklar”) in and to
following described lands in Phillips County, Montana (the “Subject Lands”) in addition to the
following described well (the “Well”):

 

Township 32 North, Range 33 East. MPM
Section 05: NE“NE%
Well: Corwin 5 #1 (API No. 2507123339)

 

This Lien is intended to cover all oil, gas and other mineral interests that Sklar may own
in and to the Subject Lands and the Well including, without limitation, all personal property,
improvements, easements, permits, licenses, services and rights-of-way used or useful in
connection with the exploration, development or operation of the oil, gas and other minerals
underlying the Subject Lands and the production, treatment, storage, transportation, processing
and compressing of oil, gas, casinghead gas and other minerals, including, but not limited to
wells, casing, tubing, in-hole and wellhead fixtures and equipment, lines, separators, treaters,
pumps, buildings and all other oilfield machinery, equipment and supplies, pipelines, power
lines, roads and all other appurtenances and fixtures relating to the Subject Lands and the
interests of Sklar therein.

From March 9, 2020, through March 27, 2020, Liquid Gold performed labor and
furnished materials and/or services in the maintenance and operation of the Well. The total value
of all labor performed, and materials and/or services furnished by Liquid Gold for the benefit of
Sklar is $93,582.50. Copies of the Liquid Gold’s invoices detailing the labor, materials and/or
services furnished with respect to the Well and the dates on which the foregoing were
performed/furnished are. attached hereto as Exhibit A. The materials and/or services furnished,
and labor performed by Liquid Gold was at the express request of John Vittitow in his capacity
as Operations Engineer for Sklar.

Notice of Oil and Gas Lien Page | of 2
Case:20-12377-EEB Doc#:562 Filed:09/28/20 _Entered:09/28/20 13:51:58 panes of 24
S¥ i 104

Dated May-29, 2020.

LIQUID GOLD WELL SERVICE, INC.

wy Prcttid/ ordchen alt See

Kristine E. Schwindt, Secretary

VERIFICATION, CERTIFICATE AND AFFIDAVIT OF MAILING

STATE OF MONTANA __ )
:SS
County of Glacier )

Kristine E. Schwindt, being duly sworn and under oath, states as follows:

1) Iam the Secretary for Liquid Gold Well Service, Inc. and have executed this “NOTICE OF
OIL AND GAS LIEN” in such capacity;

2) Ihave read this “NOTICE OF OIL AND GAS LIEN” and the recitations contained herein
are true and correct to the best of my knowledge, information and belief; and

3) In accordance with Title 71, Chapter 3, Part 10, Montana Code Annotated, a photocopy of oe
this “NOTICE OF OIL AND GAS LIEN” has been sent by certified mail on May-29;-2020, ure A210)
to 401 Edwards Street, Suite 1601, Shreveport, Louisiana 71101 which is the last known
address for Sklar Exploration Company LLC.

LIQUID GOLD WELL SERVICE, INC.

an Aruckei a oY Nphumuclt See,

Kristine E. Schwindt, Secretary

 

 

 

 

 

—e ”
Sune 2
Subscribed and sworn to before me on May 29; 2020, by ot E. Schwindt..
‘BRITTANY FRYDENLUND Pe i, : |
-NOTARY PUBLIC for the
State of Montana hy Xp "
Residing at Shelby, Montana
My carinaas Expires ll et for the State of Montana

Notice of Oil and Gas Lien Page 2 of 2
 

Case: 20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Ne JOS 24
OO « SS -

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5 LIQUID GOLD WELL SERVICE, INC, R.W.0.42931 8
Phone (406).873-2966 fed copy., subject to chenges. Invobe to flow P.O. Box 757
Fax (406) 873-2997 ; Cut Bank, MT 59427
Company: SKIAG Date 3-9 -~20 nl:
Lease C. Mer FA Well # St |
Type of Pump: Traveling plunger insert “Traveling barrel insert Valvas -

Diameter of Pump: 1th" * {Alg" t4¢" 1257 z Qty 254" Other

Insert Pump/Barrel; 6 ‘gg 40 Other !

Rod Type: API Sig? 3° 719" Other
Tubing: API 2" 234° 2° Other

 

 

Other Comments: Aged Ib HO fas Cut Pon 4 mw (4.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Rig Trave}
Hours

Pickup Travel
Fuel for Rig &
Environmental &

/ Too! Pusher

 

SST

EMPLOYEE NAMES 1g

 

Signature. {+ at TOTAL DUE

— EXHIBIT "A"
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Pages gh 24
, LObo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: LIQUID GOED WELL SERVICE, INC. rw.o.#29299

> Rig Work Order WELL SERVICE LOG - FIELD COPY

‘Phone (406) 873-2066 field copy...subject to changes...invoice to follow PO. Box 757

Fax (408) 873-2997 ‘ Cut Bank, MT 59427

Company — SIKCLA Date _ 3-1 O-29 __

Lease Cor nta Well # Sel

Type of Pump: Traveling plunger insert__........_-__-___ Traveling: barral insert —Valves

Diameter of Pump: 11/2" 119° qiKe° 12512” 2 oun 24" Other

Insert Pump/Barrel: 6' 8 10 Other

Rod Type: AP} - Big” aia” Tig" Other es

Tubing: API os 23/8" 27g" Other _

 

 

 

 

 

Rig Travel
Hours

Travel
Fuel for Rig &
Environmental
] Pusher

*.

 

EMPLOYEE NAMES

 

Signature | wel TOTAL DUE

 

EXHIBIT "A"

 

 
 

Case: 20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Pa ged of 24

je 10]

LIQUID GOLD WELL SERVICE, INC. Rw.0.# 29300
WELL SERVICE -LOG - FIELD COPY
field Gopy...subject to changes...invoice to follow

"Rig Work Order

Phone (406) 873-2966
Fax (406) 873-2997

P.O; Box 767
Cut Bank, MT 69427

 

 

 

 

 

 

 

 

 

 

 

Company > KL Ak Date __$- //-20

Lease Ce owe YN Well # “|

Typé of Pump: Traveling plunger Insert Traveling barrel Insert Valves
Diameter of Pump: 142" ula” 41s" {25i52" 2 21" eg" Other
Insert Pump/Barrel: 6' 8 10° Other

Rod Type: AP]

Tubing: API

 

 

 

Other Comments:

  

 

 

 

 

Rig Travel
Hours

Pickup Travel
Fuel for Rig &
Environmental &

/ Tool Pusher

EMPLOYEE NAMES

Signature

TOTAL DUE

 

EXHIBIT "A"

 

 
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Pago of 24

 

 

 

 

 

 

 

 

 

 

 

 

oe o¥. TOF
LIQUID GOLD WELL SERVICE, INC. rwo.#29301
~Rig Work Order , WELL SERVICE LOG - FIELD COPY

Phona (408) 873-2966 figid copy...subject fo changes...involee to follow P.O. Box 757
Fax (406) 873-2997 Cut Bank, MT 59427
company GUA Date 3—/2~ Loe
Lease (WOW? ODN Well # |
Type of Pump: Travellng plunger Insert __— Traveling barrel Insert Valves
Diameter of Pump: 112" fig" 1iKs" 425ig9" 2 21n" 2514" Other .
Insert Pump/Barral: 6' 8 ! 10° Other
Rod Type: API. 5p ag? Thy® Other
Tubing: APL __ 2 2319” 27" _ Other

 

Other Comments: Lic Std Ne

 

 

 

 

 

 

 

Rig Travel
Hours
Dail,
Pickup Travel
Fuel Surcharge for Rig &
Environmental &
{ Tool Pusher

EMPLOYEE NAMES

Signature _ [-,- TOTAL DUE

 

" EXHIBIT "A"

 
 

 

Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Paget as

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LIQUID GOLD WELL SERVICE, INC. rw.o.#293027
+ Rig Work Order WELL SERVICE LOG - FIELD COPY

Phone (406).873-2966 field copy...subject to changes...invoice to follow P.O. Box 757
Fax (406) 873-2997 Cut Bank, MT 59427
Company S KC LAIL Date 3 -{ S$ 10 —
Lease Cac irr Well # S| —
Type of Pump: Traveling plunger Insert Travellng barrel insert ___ Valves
Diameter of Pump: 41/2" 11g" {the 425/32" a 2 2514” Other’
Insert Pump/Barrel: 6° 8" 10' Other
Rod Type: API 5g" ay" Tig! Other _
Tubing: API 2 2309" Qty __.. Other

 

 

 

Ce

Other Comments: _T Awan. +te> de ned in y Re in feo loz , Setig te Clieubte b cbheabhas

(SO bbl ot kéash 315 blot KZL TOU, laighas Out 6 St Rock) ng beh

OD dan

 

 

 

 

 

 

 

 

 

 

 

 

 

Total Hours
Rig Travel

Haurs f /

Travel
Fuel for Rig &
Environmental &

! Tool Pusher

EMPLOYEE NAMES

Signature _| ; . TOTAL DUE

 

EXHIBIT "A"

 

 
 

Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Pagel2of 24
: Oj - )

LIQUID GOLD WELL SERVICE, INC. Rwo.# 29304

 

 

 

 

 

 

 

 

 

 

 

 

 

Phone (406).873-2986 field copy...subject to changes...Invofoe to follow P.O. Box 767
Fax (406) 873-2097 ‘ , Cut Bank, MT 59427
Company OLA . Date. 3-14-29 :
Lease Cerny —te— Well — = Il

Type of Pump: Traveling plunger insert a Traveling barrel insert Valves

Diameter of Pump: 1¥e"____11fs" {1h8" 125tan" _ 2 ain 234" Other

Insert Pump/Barral; 6' 8 10" Other

Rad Type: API 5g" __. 3g” Tig" _ Other a=
Tubing: API 2 * 24g” Qs" Other

Other Comments: { bor J

 

 

 

 

 

 

 

 

Rig Travel
Hours

Travel
Fuel for Rig &
Environmental &
/ Too! Pusher

EMPLOYEE NAMES

 

Signature ( - , ‘ TOTAL DUE

 

\

: EXHIBIT "A"

/ /
(

 

 
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 paggts 91 Pl

 

 

LIQUID GOLD WELL SERVICE, INC. Rw.o.#29305

 

 

 

 

 

 

 

 

 

 

* Rig Work Order WELL SERVICE LOG - FIELD COPY
Phone (406).873-2966 field copy...subject to changes...invoice : follow P.O. Box 757
Fax (406) 873-2007 Cut Bank, MT 59427
Company - SKLA: KK - Date I-15 “20 .
Lease Colin — Well #_ S~/ __
Type of Pump: Traveling plunger insert... Ss Traveling barrel Insert Valves
Diameter of Pump: 112" {ie 4 1h" 425832" 2 2g" 2314" Other
Insert Pump/Barrel: 6° 3 10 Other
Rod Type: API Sig 3g" Tig Other
Tubing: API - aT

 

Other Comments: “eal ayant eran tL ge ae

a Alters Srey Deol bo. lake went “

Zz
wt

 

 

 

 

Rig Travel
Rig Hours

‘Pickup Travel
Fuel for Rig &

Environmentat & :
/Toot Pusher 7 oy

EMPLOYEE NAMES

JermdL

=———

 

Signature . . TOTAL DUE

EXHIBIT "A"

 
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Fas 14 91,24

4

LIQUID GOLD WELL SERVICE, INC. rw.o.¥29306

 

 

 

 

 

 

 

 

 

 

 

 

* Rig Work Order WELL SERVICE LOG - FIELD COPY
Phone (406) 873-2966 field copy...subject fo changes...invoice to follow P.O; Box 757
‘Fax (406) 873-2997 : Cut Bank, MT 59427
Company CKLAIL Date 3-16-20
Leas¢_— PID Well # Se]
Typs of Pump: Travellng plunger insert —__________________ Travaling barra! insert Valves
Dlaméter of Pump: 112" 115" Tig" 126/42" 2 22" 2514" Other
Inser|Pump/Berrel: 6 8 10) _ Other —
Rod Type: API bit ay 7 Other
Tubing; AP] ____ et 23/8" OTs Other

 

Other| Comments: Tete Ey acme tftp Sach sgt aera He fac bed taP Kahan
beaker, On pressor rt, BD pote! Chel Sct Secemed Ke detneny Thiptec! bx ha le

Secret, Shut clowa chin Seca d Le
1 )

 

 

 

 

 

Hours

Travel
Fuel for Rig &
&
{ Too! Pusher

TOTAL

 

/ ; “ r
EXHIBIT "A"

 

 
Xu

Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Paget.o1/24

 

 

LIQUID GOLD WELL SERVICE, INC. rwo.#29307

 

 

 

 

 

 

 

 

 

« Rig Work Order WELL SERVICE LOG - FIELD COPY
Phone (406).873-2968 field copy...subject to changes...invoice to follow P.O: Box 757
Fax (406) 873-2997 Cut Bank, MT 59427
company GILAK nate 3-72-20
Lease Gey) __ Well# S—/
Type of Pump: Traveling plunger insert Traveling barrel insert Valves
Diameter of Pump: 14/2" {1ls" 4148" 125439" 2 ain" 23a". Other
Insert Pump/Barrel: 6° 8 10° Other ————
Rod Type: API __ Sig" 34” Tig!" Other _
Tubing: API — 2 a oe" Other

 

 

Other Comments: Tvawe ( Neo Ay uo, 2 g Hai oT ala + 2¢ Ott, Sof
PTO Le hte? Ker ir Merle Dios be fas pst "4 dat Goat

Saf Leliben, = t€ , a). A p +p Ay 2 A ‘0 Se fer ar Lt)

hts

 

 

 

whe

 

Rig Travel
Hours

Travel
Fuel for
Environmental &.
/ Tool Pusher

EMPLOYEE NAMES

 

Signature MeL. A cde 5 : , TOTAL,

 

ad , EXHIBIT "A"

 

 
 

Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Pagst6 1,44

LIQUID GOLD WELL SERVICE, INC. Rw.0.#29308 |

* Rig Work Order

Phone (406) 873-2986
Fax (406) 873-2097

WELL SERVICE LOG - FIELD COPY
fleld copy...subject to changes...involee to follow

P.O. Box 757
Cut Bank, MT 59427

 

 

 

 

 

 

 

 

 

 

 

 

 

Company SLA _ Date = / & m=

lease Coven well# © — oe
Type of Pump; Travaling plunger insert —_— Traveling barrel insert Valves —=
Diameter of Pump: 112° 41g” 416° 425ig”_ 2ik* 2514" Other

Insert Pump/Barrel: 6 __ 8 10’ Other

Rod Type: API Sig 344" 7 THR Other

Tubing: API 2" 2g" 27g" Other
Other Comments:

Seeger: TIM did Shee Ze '

 

TRH, Shut ta for 3-|9-20, Shee

 

 

Rig Travel

Hours

Travel
Fuel for Rig &
Environmental &
/ Teo! Pusher

EMPLOYEE NAMES

(o-
Cc

Signature ae >

<a"

 

 

TOTAL DUE] 7 AGO

EXHIBIT "A"

 
Case: 20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Paggh!-6 of |e

 

 

. LIQUID GOLD WELL SERVICE, INC. rwo.#29309

 

 

 

 

 

 

 

 

 

 

” Rig Work Order WELL SERVICE LOG - FIELD COPY
Phone (406) 873-2966 field copy...subject to changes...invoice to follow P.O. Box 757
Fax (406) 873-2997 Cut Bank, MT 59427
Company - SKLAK Date S- ZO~ mA OQ _
Lease COPE Well # x7 |
Type of Pump: Traveling plungerinsert_- = Traveling barrel Insert Valves
Diameter of Pump; 112” 11g" 46" 425)g0" 2 Qin" 2314" Other
Insert Pump/Barrel; 6" 8 10° Other
Rod Type: API _ big" - 18" Other
Tubing: API __ 2” otter ICME

 

eee ne NTR EYYz Cellos € bet. to Tes

 

 

 

 

 

 

 

Rig Travel
Hours
Pickup
Travel
Fuel for
Safety
! Tool Pusher

EMPLOYEE NAMES

 

Signature ss ; TOTAL DUE

“EXHIBIT "A"

 

 
Case: 20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Page of "

 

 

LIQUID GOLD WELL SERVICE, INC. R.W.0.# 29310

 

 

 

 

 

 

 

* Rig Work Order WELL SERVICE LOG - FIELD COPY
Phone (406) 873-2066 field copy...subject to changes...involce to follow P.O. Box 757
Fax (406) 873-2997 ° ; Cut Bank, MT 59427
Company BARLAR : _— Date 3 2 / ~£0 —==
Lease COP Uta. : Well#_ o—(.
Type of Pump: Traveling plunger insert__....° Traveling barrel insert ___ Valves
Diameter of Pump: he" 14g" 146" 425k" 2 hig 2514" Other
Insert Pump/Barrel: 6° - 8 10° Other =
Rod Type: API - 5g Sug" Tg” Other _
Tubing: APL 2 _ 2818" 27" Other

 

Other Comments: #

lle cad tee bone TO. Aerwgad id (ETH, bes tes ee laed dna
Ge tixs Calder We hisn Madea 6 Codie Labret. le ttinc. Zs ¢ Ley ec ee Sy
Acetate Ze Shutlawn

 

 

 

 

Rig Travel

 

Travel

Fuel for Rig &
Environmental &

/ Too! Pusher

EMPLOYEE NAMES

 

Signature \ te LS : TOTAL DUE

EXHIBIT "A"
 

Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Paged9 oLpAL

 

LIQUID GOLD WELL SERVICE, INC. RW.0.#30013

 

 

 

 

 

 

 

Rig Work Order WELL SERVICE LOG - FIELD COPY

Phone (406) 873-2968 field copy...subjact to changes.,.invoice to follow P.O. Box 757

Fax (408) 873-2997 Cut Bank, MT 59427
Skt 2-Pd-LO

Company p CAC

Leases Cocuryy Well# > |

Type of Pump: Traveling plunger Insert... _ Traveling barrel insert Valves

Diameter of Pump: 4¥o"____ 114s" 4the" 125%32° 2 22" 2244" Other

Insert Pump/Barrel: 8 8 + 10 Othar

Rod Type: API Sig" 3y4" Up _ Other

Tubing: API ’ 2 23/8" 22g” Other

 

Other Comments; erase \ Nes Bra (ator op, Clea neck ot heses hases
Cheemed of Ae het : 2. tcl be pA v7 not cewek prmgcesS

alow cul, chinge ts Lee le drt —m da oh he) _ fi Bee ne ng:
Dolled Sef che tsct chy Shu dolby a

 

 

 

 

Rig Travel

Hours

Pickup Travel
Fuel for Rig &
Environmental &

/ Too! Pusher

EMPLOYEE NAMES

a

 

Signature | _- : / Z __ TOTAL DUE
/ »

“EXHIBIT "A"

/

 

 
 

Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Pages? Of Ay

On LIQUID GOLD WELL SERVICE, INC, R.w.0.# 29669

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

’ Rig Work Order WELL-SERVICE LOG - FIELD COPY
Phone (406) 873-2968 ~ field copy...subject to changes...invoice to follow PO, Box 757
Fax (406) 873-2097 Cut Bank, MT 59427
Company S KLA x Date S~Z S- ZO
Lease CO /iA Wall#_S= |
Type of Pump: Traveling plunger insert Traveling barrel insert Valves
Diameter of Pump: 142" {itg® ing" 42532" 2 21g" 2314" Other
Insert Pump/Barrel: 6 8 10’ ‘Other
Rod Type: API _ Ste” aig" Tig ‘Other
Tubing: API 2" 2318” 2718" Other _
Other Comments: ; ies on

feline 4 .
Sur Wel, Secured 0 ¢ bitadenw, Che tdlors , teinet ty boo
‘- Ayes v

Rig Travel
Hours Vla0- 106

Travel
Fuel for Ric &
Environmental &
! Tool Pusher

EMPLOYEE NAMES

L-
a
di naQ

     

( / p PARR
Signature Na ae / > ee EE TOTAL BUE

a
EXHIBIT "A"

a

 

 
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Paaggt of a4

 

’

-

LIQUID GOLD WELL SERVICE, INC, Rw.o.#29671

 

 

 

 

 

 

 

 

 

 

 

 

 

   

| “Rig Work Order “ WELL SERVICE LOG - FIELD COPY
Phone (406) 873-2968 field copy...subject to changes...invoice to follow P.O, Box 757
Fax (406) 873-2997. Cut Bank, MT 59427
Company SKLAR Date S~ 2 Y- ZO
Lease. Col@wT Well# ~1
Type of Pump: Traveling plungerinsert__. = == = === _—Traveling barrel Insert Valves
Diameter of Pump: 11/2" {ig 11he" 425/32" 2 ati? 2314" Other
insert Pump/Barrel: 6° 3 10° Other
Rod Type: API . 5/g” og" Te*_ Other ~
Tubing: API ee Va 2318" . __ 2tig" : Other
Other Comments: é :
Rex Ne
freee (der tein

 

48
te

 

 

Rig Travel
Hours

Travel _
_ | Fuel for Rig &
. Environmental &
ns / Tool Pusher

 

t -

EMPLOYEE NAMES

Signilire XZ AF TOTAL DUE

 

EXHIBIT "A"

I

 
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Page22 § ob ag

——— 0 5

 

 

LIQUID GOLD WELL SERVICE, INC. rRw.o.# 29293

 

 

 

 

 

 

 

 

 

 

 

Phone (406) 873-2966 field copy...subjéct to changes...invalce fo follow P.O, Box 757
Fax (4068) 673-2997 Cut Bank, MT 59427
Company SKLAK ate $-25-20 _ _
Lease___ COR LT Well# _</ _
Type of Pump: Traveling plunger Insert Traveling barre! insert Valves

Diameter of Pump: 11/2" 41g" Tits" 425/32" 2 21g" 234" Other

Insert Pump/Barrel: 6" 8 10' Other

Rod Type: AP) _____ 8" 34” Tig" Other __
Tubing: AP} o7Ig"

Other Comments: ws Th bi date Ti dat lly dello Ba

 

 

 

 

 

Rig Travel
Hours

Travel
Fuel for Rig &
Environmental &
{ Too! Pusher

N

EMPLOYEE NAMES

st

Signature | Z = TOTAL buE| S47 e=
EXHIBIT "A"

 

 

 
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Pagg?s ah 74

 

LIQUID GOLD WELL SERVICE, INC. Rw.o.#29294

 

 

 

 

 

 

 

 

 

 

Phone (406) 873-2966 field copy...subject to changes...invaice to follow p> PO, Box 757,

Fax (406) 873-2997 . Cut Bank, MT 59427

eoripaty PICLA Date I~ Z6-20

Lease Coil ae Wet SE _

Type of Pump: Traveling plunger inser! __....._______ Traveling barrel insert Valves

Diameter of Pump: 112" 4 4ig° 449" {2ilsg" 2 aug ay" Other

Insert Pump/Barrel: 6° 8 10' Other

Rod Type; APL Ph 344" Tig" Other

Tubing: API 2" 23/8” ats" __ Other

Other Comments: —Tawel to x, netrened igo d-tihgact Oud 40 bit Sot eyo ter beaten baw,
MG ; iu fhe of

Ghat bicen

 

 

 

 

 

Rig Travel
Hours
Daily Pickup
Travel
Fuel for Rig &
Environmental &
/ Toot Pusher

 

EMPLOYEE NAMES

 

Signature TOTAL

EXHIBIT "A"

 

 
Case:20-12377-EEB Doc#:562 Filed:09/28/20 Entered:09/28/20 13:51:58 Page24 of 24
VET XO

| LIQUID GOLD WELL SERVICE, INC. Rwo.# 29295

 

 

 

 

 

 

 

 

Rig Work Order WELL SERVICE LOG - FIELD COPY
Phone (406) 873-2966 field copy...subject to changes...invoice to follow P.O. Box 757
Fax (406) 873-2897 . Cut Bank, MT 59497
Company a (LAE “Date 2» ~=Z7-20
Lease Core with _ Wall# S 4 a ae
Type of Pump: Traveling plungerinsert == Traveling barrel insert - Valves
Diameter.of Pump: 11/2" {1g {ine 425432" - 2 2th" _ 2244" Other
Insert Pump/Barrel: 6’ 8 10' Other
Rod Type: AP{ Sig" ag" Tg" Other
Tubing: APL _ 2" Poe ats" Other.

 

Other Comments: _1Zze tea Apap, wevime dl sf. LK pulled tn. ByA~ yp Chet at fo A Boe 0

fe ty Elle teded, dled. et elena Leof yt HOF latest np Marcle.
ol Ou C f

Addldte ‘do tat fake et

 

 

Rig Travel
Hours

Travel
Fuel for Rig &
Environmental &

{Tool Pusher os

EMPLOYEE NAMES

 

TOTAL

 

Signature

EXHIBIT "A"

 

 

See a ae
